 

Case 8:18-cv-01160-AG-JDE Document 1-1

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Attorneys for Plaintiff,
Andrew Kerr

SUPERIOR COURT OF THE STATE OF CALIFORNIA
COUNTY OF ORANGE

ANDREW KERR, an individual,

Plaintiff,

EXEL INC., and DOES | through 25,

Defendants.

 

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Filed 06/29/18 Page 10f 15 Page ID#10.

ELECTRONICALLY FILED
Superior Court of Califomia,
County of Orange

0404/2018 at {1:32:08 Avl

Clerk of the Superior Court
- By Yasica Campos,Oeputy Clerk

30-2018-00893804-CU-GE-CJC
CASE NO.:
Judge Derek W, Hunt

COMPLAINT FOR DAMAGES

1. FAILURE TO PAY MINIMUM
- WAGE (LABOR CODE § 1197);

2. FAILURE TO PAY UPON
TERMINATION OR QUITTING
EMPLOYEE (Cal. Labor Code §§
201, 202, 203);

3. FAILURE TO PROVIDE CORRECT
ITEMIZED STATEMENT TO
EMPLOYEE (Cal. Labor Code § 226); .

4, UNFAIR BUSINESS PRACTICES
(Cal. Business and Professions Cade
§§ 17200 et seq.);

5. FAILURE TO PROVIDE
EMPLOYMENT RECORDS
(violation of California Labor Code §

1198.5);

6. WRONGFUL TERMINATION IN
VIOLATION OF PUBLIC POLICY.

Demand for a Jury Trial
Unlimited Civil

 

 

‘ COMPLAINT FOR DAMAGE

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GENERAL ALLEGATIONS

L. Andrew Kerr (hereinafter “Kerr”), is, at all times mentioned, an individual
residing in the County of San Bernardino, State of California.

2, Andrew Kerr alleges that he was employed by Defendant Excel Inc. (hereinafter
referred to as “Defendant”).

3. _ Kerr is unaware of the true names and capacities of Defendants sued herein, as
DOES | through 25, inclusive and therefore sues those Defendants by such fictitious names.
Kerr will amend this complaint to allege their true names and capacities when ascertained. Kerr
is informed and believes, and thereon alleges, that each of the fictitiously named Defendants are
responsible in some manner for the occurrences herein alleged and were proximately caused by
their conduct. |

4, Kerr is informed and believes, and thereon alleges, that at all times herein
mentioned, each of the Defendants was the agent and employee of each of the remaining
Defendants, and in doing the things hereinafter alleged, was acting within the course and scope

of such agency and employment.

5. Venue is proper in this judicial district because the conduct alleged in this
Complaint occurred in this judicial district.

FIRST CAUSE OF ACTION
For Failure to Pay Minimum Wage
(Violation of California Labor Code § 1197 and IWC Wage Orders)

6. Kerr re-alleges and incorporates by reference each and every allegation contained

in paragraphs ! through 5, inclusive, as though fully set forth herein.

7. Kerr is informed and believes, and thereon alleges, that California Labor Code §
1197 and the Industrial Welfare Commission Wage Orders were in full force and effect and
binding on Defendants at all times mentioned herein. Set sections make it unlawful for an

employer to pay an employee less than the minimum wage.

8. Kerr is informed and believes, and thereon alleges, that he was not paid the

minimum wage for all hours worked by Defendants, which is below what is required by the State

 

 

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COMPLAINT FOR DAMAGES

 

 
 

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1 of California’s minimum wage laws. Since Defendants failed to pay Kerr minimum wages,

2 Defendants are in violation of California Labor Code § 1197 and the JWC Wage Orders.

3 9. Kerr is therefore entitled to recover the unpaid amount of the minimum wage,

4 liquidated damages, interest thereon, and reasonable attorneys’ fees and costs as provided for by
‘5 California Labor Code §§ 1194 and 1194.2.

P SECOND CAUSE OF ACTION

Failure to Pay Terminated or Quitting Employee

7 (Violation of California Labor Code §§ 201, 202, and 203)

8 10. Kerr re-alleges and incorporates by reference each and every ailegation contained

9 in paragraphs 1| through 9, inclusive, as though fully set forth herein.
10 1. At all times mentioned in this Complaint California Labor Code §§ 201, 202,
11 and 203 were in full force and effect and binding on Defendants. Said sections require an
12 employer to pay all unpaid and earned wages to an employee immediately upon discharge.
13 12. Kerr is informed and believes, and thereon alleges, that Defendants refused and/or
14 willfully failed to pay all wages owed to Plaintiff at the time of discharge which was
15 approximately October 13, 2017.
16 13. Asaresult of Defendants’ violation of California Labor Code §§ 201, 202 and
17 203, Plaintiff is entitled to penalties under California Labor Code § 203, which provides that
18 upon violation of California Labor Code § 201, “the wages of the employee shall continue as a
19 penalty from the due date thereof at the same rate until paid or until an action is commenced; but
20 such wages shall not continue for more than 30 days.”
a THIRD CAUSE OF ACTION
22 _ Failure to Provide Itemized Statement to Employee

(Violation of California Labor Code § 226)
23
24 14. Kerr re-alleges and incorporates by reference each and every allegation contained
25 in paragraphs | through 13, inclusive, as though fully set forth herein.
26 15. Kerr is informed and believes, and thereon alleges, that Defendants are required
27 by law to provide a proper itemized statement to Plaintiff under California Labor Code § 226.
28 Said section requires employers to give an itemized statement to an employee at every pay period
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. COMPLAINT FOR DAMAGES

 

 

 

 

 
 

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I which includes gross wages earned, total hours worked by employee, all deductions, net wages

2 earned, dates for which the period was paid, employee’s name and social security number, name

3 and address of employer, and all applicable hourly rates.

4 16: At all times mentioned in this Complaint California Labor Code § 226 was in full

5 force and effect and binding on Defendants.

6 17. Notwithstanding the requirements of California Labor Code § 226, Defendant

7 knowingly and intentionally failed to provide Plaintiff with proper and accurate paychecks in

8 violation of California Labor Code § 226. |

9 18. Kerr is informed and believes, and thereon alleges, that she is entitled to penalties
10 | for failure to maintain proper and correct itemized statements in violation of California Labor _
11 Code § 226, in an amount according to proof at trial.
12 FOURTH CAUSE OF ACTION

Unfair Business Practices
13 (Violation of Cal. Business and Professions Code § 172900 et. seq.)
14 19, Kerr re-alleges and incorporates by reference each and every allegation
15 contained in paragraphs | through 18, inclusive, as though fully set forth herein..
16 20. At all times herein mentioned, California Business and Professions Code § 17200
17 et, seq. was in full force and effect and binding upon Defendants. Said sections prohibit
18 Defendants from engaging in unfair practices including, but not limited to, failing to pay proper
19° wages.
20 21. Kerr is informed and believes, and thereon alleges, that Defendants engaged in
1 unlawful business practices in violation of California Business and Professions Code § 17200 et.
22 seq. by failing to pay proper wages to Plaintiff.
23 22. As a direct result of the actions of Defendants as alleged above, Kerr is entitled to
24 restitution pursuant to California Business and Professions Code §§ 17203 and 17208 in an
25 amount according to proof at trial.
26 FIFTH CAUSE OF ACTION
FAILURE TO PROVIDE EMPLOYMENT RECORDS
27 (Violation of California Labor Code § 1198.5)
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COMPLAINT FOR DAMAGES

 

 

 

 
 

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23. = Kerr re-alleges and incorporates by this reference paragraphs | through 22 of
the preliminary allegations, as though fully set forth herein.

24. California Labor Code § 1198.5 states “Every current and former employee, or
his or her representative, has the right to inspect and receive a copy of the personnel records that
the employer maintains relating to the employee’s performance or to any grievance concerning
the employee.” “Upon a written request from a curfent or former employee, or his or her
representative, the employer shail also provide a copy of the personnel records, at a charge not to
exceed the actual cost of reproduction, not later than 30 calendar days from the date the employer
receives the request... .”

25. On February 5, 2018, Counsel for Plaintiff wrote a letter to Defendant requesting _ |.
Plaintiff's personnel records,

26. Defendant failed to provide Plaintiff's personnel records to Plaintiff or Counsel
for Plaintiff within the time period prescribed under California Labor Code § 1198.5.

27. Plaintiff seeks penalties, an injunction, and attorney’s fees and costs pursuant to

California Labor Code § 1i198.5(k) and (1.

SIXTH CAUSE OF ACTION
Wrongful Termination in Violation of Public Policy

28. Kerr re-alleges and incorporates by reference each and every allegation contained

in paragraphs 1 through 27 inclusive, as-though fully set forth herein.

29. The public policy of the State of California, as expressed by the Legislature, the
California Constitution, and the California Supreme Court, is to protect and safeguard the right
and opportunity of all persons to seek, obtain, and hold employment without retaliation for making.
safety complaints and/or complaints of improper wage practices.

30. Defendant deliberately, intentionally, and wrongfully terminated Kerr on or about
October 13, 2017 without just cause or reason and on the improper and illegal basis of his
reporting of threats of violence in the work place. See California Code of Civil Procedure §

527.8; Franklin v. Monadnock Co, (2007) 151 CA4th 252, 258.

 

 

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COMPLAINT FOR DAMAGES

 

 

 

 
 

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31. As a direct, foreseeable, and proximate result of Defendant’s acts, Kerr suffered
and continues to suffer, substantial losses in earnings, job benefits, humiliation, embarrassment,
and emotional distress, the precise amount of which will be proven at trial.

32. Kerr is further informed and believes, and thereon alleges that Defendant
intentionally, willfully, maliciously, and oppressively terminated Kerr, thus entitling Kerr to

recover punitive damages from Defendant in an amount according to proof at trial.

PRAYER FOR RELIEF
WHEREFORE, Plaintiff prays for judgment against the Defendants as follows:

ON THE FIRST CAUSE OF ACTION
1. Judgment against Defendants for al! unpaid minimum wages, according to proof,
2. For waiting time penalties under California Labor Code §§ 201, 202 and 203,
3. Judgment against Defendants for penalties required under California Labor Code
§ 1194.2 in a sum according to proof;
4, Judgment against Defendants for reasonable attorney’s fees as provided for by
law;
ON THE SECOND CAUSE OF ACTION
3. For waiting time penalties under California Laber Code §§ 201, 202 and 203;
6. Judgment against Defendants for reasonable attorney’s fees as provided for by
law;
ON THE THIRD CAUSE OF ACTION
7. Judgment against Defendants for penalties and/or damages pursuant to California
Labor Code § 226;
8. Judgment against Defendants for reasonable attorney’s fees and costs under
California Labor Code § 1194 according to proof,
ON THE FOURTH CAUSE OF ACTION ©
9. For restitution of all unlawfully withheld wages for a period commencing four

years prior to the filing of this action.through final judgment;

 

 

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COMPLAINT FOR DAMAGES

 

 

 
 

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ON THE FIFTH CAUSE OF ACTION
Judgment against Defendants for penalties and/or damages pursuant to California
Labor Code § 1198.5;
An injunction against Defendants and its officers, agents, successors, employees,
representatives, and any and al! persons acting in concert with it from engaging in
each of the practices complained of in this complaint,
ON THE SIXTH CAUSE OF ACTION
Judgment against Defendants for general damages according to proof,
Judgment against Defendants for special damages according to proof;
Judgment against Defendants for punitive damages according to proof; _
J udgment against Defendants for pre-judgment interests;
ON ALL CAUSES OF ACTION
For pre-judgment interest according to proof;
Costs of suit incurred herein;
Attorney’s Fees as provided by law; and

For such further relief as the court deems just and proper.

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Aarin A. Zeif

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A Professional Law Corporation
Attorney for Plaintiff

Andrew Kerr

 

 

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COMPLAINT FOR DAMAGES

 

 
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SUPERIOR COURT OF CALIFORNIA
COUNTY OF ORANGE

ALTERNATIVE DISPUTE RESOLUTION (ADR)
INFORMATION PACKAGE

NOTICE TO PLAINTIFF(S) AND/OR CROSS-COMPLAINANT(S):

Rule 3.221(c) of the California Rules of Court requires you to serve a copy of the ADR
Information Package along with the complaint and/or cross-complaint.

California Rules of Court — Rule 3,221
Information about Alternative Dispute Resolution (ADR)

(a) Each court shall make available to the plaintiff, at the time of filing of the complaint, an
ADR Information Package that includes, at a minimum, all of the following:

(1) General information about the potential advantages and disadvantages of ADR and
descriptions of the principal ADR processes.

(2) Information about the ADR programs available in that court, including citations to any
applicable local court rules and directions for contacting any court staff responsible for
providing parties with assistance regarding ADR.

(3) Information about the availability of local dispute resolution programs funded under the
Dispute Resolutions Program Act (DRPA), in counties that are participating in the DRPA.
This information may take the form of a list of the applicable programs or directions for
contacting the county’s DRPA coordinator.

(4). An ADR stipulation form that parties may use to stipulate to the use of an ADR process.

(b) A court may make the ADR Information Package available on its Web site as long as paper
copics are also made available in the clerk’s office. ,

(c) The plaintiff must serve a copy of the ADR Information Package on each defendant along

with the complaint. Cross-complainants must serve a copy of the ADR Information Package on
any new parties to the action along with the cross-complaint.

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SUPERIOR COURT OF CALIFORNIA
COUNTY OF ORANGE

‘ ADR Information

‘ * Intraduction,

Most civil disputes are resolved without filing a lawsuit, and most civil lawsuits are resolved without a trial.
The courts and others offer a variety of Alternative Dispute Resolution (ADR) processes to help people
resolve disputes without a trial. ADR is usually less formal, less expensive, and less time-consuming than
a trial. ADR can also give people more opportunity to determine when and how their dispute will be
| resolved,

BENEFITS OF ADR.

Using ADR may have a varlety of benefits, depending on the type of ADR process used and the
circumstances of the particular case, Some potential benefits of ADR are summarized below,

Save Time. A dispute often can be settled or decided much sooner with ADR; often in a matter of
months, even weeks, while bringing a lawsuit to trial can take a year or mare.

Save Money. When cases are resolved earlier through ADR, the parties may save some of the money
they would have spent on attorney fees, court costs, experts’ fees, and other litigation expenses.

Increase Control Over the Process and the Outcome. In ADR, parties typically play a greater role in
shaping both the process and its outcome. In most ADR processes, parties have more opportunity to tell
their side of the story than they do at trial. Some ADR processes, such as mediation, allow the parties to
fashion creative resolutions that are not available in a trial. Other ADR processes, such as arbitration,
allow the parties to choose an expert in a particular fleld to decide the dispute.

Preserve Relationships. ADR can be a less adversarial and hostile way to resolve a dispute. For
example, an experienced mediator can help the parties effectively communicate their needs and point of
view to the other side. This can be an important advantage where the parties have a relationship to
preserve,

Increase Satisfaction. In a trial, there is typically a winner and a loser. The loser is not likely to be
happy, and even the winner may not be completely satisfied with the outcome. ADR can help the parties
find win-win solutions and achieve their real goals. This, along with all of ADR's other potential
advantages, may increase the parties’ overall satisfaction with both the dispute resolution process and the
outcome.

Improve Attorney-Client Relationships. Attorneys may also benefit from ADR by being seen as
problem-solvers rather than combatants. Quick, cost-effective, and satisfying resolutions are likely to

produce happier clients and thus generate repeat business from-clients and referrals of their friends and
associates.

DISADVANTAGES OF ADR.
ADR may not be suitable for every dispute.
Loss of protections. If ADR is binding, the parties normally give up most court protections, including a

daciston by a Judge or Jury under formal rules of evidence and procedure, and review for legal error by an
appellate court. ,

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Less discovery. There generally is less opportunity to find out about the other side’s case with ADR -
than with litigation, ADR may not be effective if it takes place before the partles have sufficient
information to resolve the dispute.

Additional costs. The neutral may charge a fee for his or her services, If a dispute is not resolved
through ADR, the parties may have to put time and money into both ADR and a lawsuit.

Effect of delays if the dispute is not resolved. Lawsuits must be brought within specified periods of
time, known as statues of limitation. Parties must be careful not to let a statute of limitations run out while
a dispute Is in an ADR process.

TYPES OF ADR IN CIVIL CASES.

The most commonly used ADR processes are arbitration, mediation, neutral evaluation and settlement
conferences.

Arbitration. In arbitration, a neutral person called an “arbitrator® hears arguments and evidence from
each side and then decides the outcome of the dispute. Arbitration Is less formal than a telal, and the rules
of evidence are often relaxed. Arbitration may be either “binding” or “nonbinding.” Binding arbitration
means that the parties waive their right to a trial and agree to accept the arbitrator's decision as final.
Generally, there is no right to appeal an arbitrator's decision. Nonbinding arbitration means that the
parties are free to request a trial if they do not accept the arbitrator's decision.

Cases for Which Arbitration May Be Appropriate. Arbitration is best for cases where the parties
want another person to decide the outcome of their dispute for them but would like to avoid the
formality, time, and expense of a trial. It may also be appropriate for complex matters where the
parties want a decision-maker who has training or experience in the subject matter of the dispute.

Cases for Which Arbitration May Not Be Appropriate. If parties want to retain control over how
thelr dispute is resolved, arbitration, particularly binding arbitration, is not appropriate. In binding
arbitration, the parties generally cannot appeal the arbitrator's award, even if it is not supported by the
evidence or the law. Even in nonbinding arbitration, if a party requests a trial and does not receive a
more favorable result at trial than in arbitration, there may be penalties.

Mediation, In mediation, an impartial person called a “mediator” helps the parties try to reach a mutually
acceptable resolution of the dispute. The mediator does not decide the dispute but helps the parties
communicate so they can try to settle the dispute themselves, Mediation leaves controi of the outcome
with the parties.

Cases for Which Mediation May Be Appropriate. Mediation may be particularly useful when
parties have a relationship they want to preserve. So when family members, neighbors, or business
partners have a dispute, mediation may be the ADR process to use. Mediation Is also effective when
emotions are getting in the way of resolution. An effective mediator can hear the parties out and help
them communicate with each other in an effective and nondestructive manner.

Cases for Which Mediation May Not Be Appropriate. Mediation may not be effective if one of the
parties is unwilling to cooperate or compromise. Mediation also may not be effective if one of the
parties has a significant advantage in power over the other. Therefore, it may not be a good choice if
the parties have a history of abuse or victimization.

Neutral Evaluation. In neutral evaluation, each party gets a chance to present the case to a neutral
person called an “evaluator.” The evaluator then gives an opinion on the strengths and weaknesses of
each party's evidence and arguments and about how the dispute could be resolved. The evaluator is

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often an expert in the subject matter of the dispute. Although the evaluator's opinion is not binding, the
parties typically use it as a basis for trying to negotiate a resolution of the dispute.

Cases for Which Neutral Evaluation May Be Appropriate. Neutral evaluation may be most
appropriate in cases in which there are technical issues that require special expertise to resolve or
the only significant issue in the case is the amount of damages.

Cases for Which Neutral Evaluation May Not Be Appropriate. Neutral evaluation may not be
. appropriate when there are significant personal or emotional barriers to resolving the dispute.

Settlement Conferences. Settlement conferences may be either mandatory or voluntary. In both types
of settlement conferences, the partles and their attorneys meet with a Judge or a neutral person called a
"settlement officer" to discuss possible settlement of their dispute. The judge or settlement officer does
not make a decision in the case but assists the parties in evaluating the strengths and weaknesses of the
case and in negotiating a settlement. Settlement conferences are appropriate in any case where
settlement is an option. Mandatory settlement conferences are often held close to the date a case is set
for trial.

ADDITIONAL INFORMATION.

In addition to mediation, arbitration, neutral evaluation, and settlement conferences, there are other types
of ADR, including conciliation, fact finding, mini-trials, and summary jury trials. Sometimes parties will try
a combination of ADR types. The important thing is to try to find the type or types of ADR that are most
likely to resolve your dispute.

To locate a dispute resolution program or neutral in your community:
e« Contact the California Department of Consumer Affairs, Consumer Information Center, toll free,
1-800-852-5210
» Contact the Orange County Bar Association at (949) 440-6700
* Look in the telephone directories under “Arbitrators” or "Mediators"

Free mediation services are provided under the Orange County Dispute Resolution Program Act (DRPA)
For information regarding ORPA, contact:

* Community Service Programs, Inc. {949} 250-4058

*« Orange Counly Human Relations (714) 480-6572

For information on the Superior Court of California, County of Orange court ordered arbitration program,
refer to Local Rule 360. aang

The Orange County Superior Court offers programs for Civil Mediation and Early Neutral Evaluation
(ENE). For the Civil Mediation program, mediators on the Court's panel have agreed to accept a fee of
$300 for up to the first two hours of a mediation session. For the ENE program, members of the Court's
panel have agreed to accept a fee of $300 for up to three hours of an ENE session. Additional
information on the Orange County Supertor Court Civil Mediation and Early Neutral Evaluation (ENE)
programs is available on the Court's website at www.occourts.org.

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ATTORNEY OR PARTY WITHOUT ATTORNEY (Name & Address): FOR COURT USE ONLY

 

Telephone No.: Fax No. (Optional):
E-Mail Address (Optional):
ATTORNEY FOR ({Nanie): Bar No:

 

SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE

JUSTICE CENTER:

C1) Central - 700 Civic Center Or. Wast, Santa Ana, CA 92701-4045

Q Civil Complex Center - 754 W. Santa Ana Bivd., Santa Ana, CA 92701-4512

O Harbor ~ Newport Beach Facllity - 4601 Jamboree Rd., Newport Beach, CA 92660-2595
C] North — 1275 N. Berkeley Ave., P.O. Box 5000, Fullerton, CA 92838-0500

 

PLAINTIFF/PETITIONER:
DEFENDANT/RESPONDENT:

ALTERNATIVE DISPUTE RESOLUTION (ADR) STIPULATION CASE NUMBER:

 

 

 

 

 

Plaintiff(s)/Petitioner(s),

 

and defendant(s)/respondent(s),

 

 

agree to the following dispuie resolution process:
[] Mediation
(_] Arbitration (must specify code)
Under section 1141.11 of the Code of Civil Procedure
(Under section 1280 of the Code of Civil Procedure
() Neutral Case Evaluation

The ADR process must be completed no later than 90 days after the date of this Stipulation or the date the case
was referred, whichever is sooner.

(1) | have an Order on Court Fee Waiver (FW-003) on file, and the selected ADR Neutral(s) are eligible to provide
pro bono services.

(] The ADR Neutral Selection and Party List is attached to this Stipulation.

We understand that there may be a charge for services provided by neutrals, We understand that participating in
an ADR process does not extend the time periods specified in California Rutes of Court rule 3.720 et seq,

Date:

 

(SIGNATURE OF PLAINTIFF OR ATTORNEY) {SIGNATURE OF PLAINTIFF OR ATTORNEY)

Date:

 

(SIGNATURE OF DEFENDANT OR ATTORNEY) (SIGNATURE OF DEFENDANT OR ATTORNEY)

 

ALTERNATIVE DISPUTE RESOLUTION (ADR) STIPULATION

Approved for Optional Use California Rules of Court, rule 3.221
L1270 (Rev. July 2074) ,

 

 
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NOTICE TO DEFENDANT:

(AVISO AL DEMANDADO): ELECTRONICALLY FILED
Superior Court of California,

EXEL INC., and DOES | through 25, County of Orange
04/04/2018 at 11:32:08 At

YOU ARE BEING SUED BY PLAINTIFF: Clerk of the Superior Court

(LO ESTA DEMANDANDO EL DEMANDANTE): By Yesica Campos ,Deputy Clerk

ANDREW KERR, an individual,

 

 

Novice! You have been sued. The count may decide against you without y our being heard unless you respond within 30 days. Read the information
below.

You have 30 CALENDAR DAYS after this summons and legal papers are served on you to fila a written response at this court and have a copy
served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper egal form if you want the courl ta hear your
case. There may de a court form that yoy can use for your res panse. You can find these court forms and more information at the Califomla Courts
Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. if you cannot pay the filing fee, ask
the court clerk far a fee waiver form, If you do not file your response on time, you may lose the case by default, and your wages, money, and property
may be taken without further warning from the court.

There are other legal requirements. You may want to call an alfomey sight away. If you do not know an attorney, you may want to cail an attomey
referral service. if you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.arg), the Califarnia Courts Online Self-Help Center
{www.courtinfo.ca.gov/selfhelp), or by contacting your focal court er county bar association. NOTE: The court fas a statutory lien for waived fees and
costs on any settlement or arbitration award of $10,000 or more in a civil casa. The court’s lien must be paid before the court will dismiss the case,
jAVISO! Lo han demandado, Si no respande dentro de 30 dias, la corte puede decidir en su contra sin escuchar su version. Lea ia informacion a
continuacién, .

Tiene 30 DIAS DE CALENDARIO después de qua le entreguen esta citacién y papeles legales para presentar una respuesta por escrito en esta
corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefénica no /o protegen. Su respuesta por escrito tiene que estar
en formato legal correcto si desea qua procesen su caso en la corte. Es posible que haya un formutario que usted pueda usar para su respuesta,
Puede encontrar estos formularos de la corte y mas informacién en el Centro de Ayuda de las Cortes de Califomia (www.sucorte.ca.gov), en la
biblioteca de leyes de su condado 0 en Ja carte que /e quede mas cerca. Si no puede pagar fa cuola de presentacidn, pida al secretario do fa corte
que le dé un formulario de exencién de pago de cuolas. Si no presenta su respuasta a tiempo, pueda perder ef caso por incumplimiento y la corte ie
podrd quitar su sueldo, dinero y blenes sin mas advertencia.

Hay otros requisitos legales. Es recomendabie que llame a un abogado inmediatamente, Si no conace a ua abogads, puede Hamar 4 un servicio de
remision a abogados, Si no puede pagar a un abogado, es posible que cumpla con los requisites para obtener servicios legates graluitos de un
programa de servicios legales sin fines de lucro. Puede encontrar estos grupes sin fines de iucra en ai sitio web de Califomia Lega! Services,

(www Jawhelpcalifomia.org), en ef Cantro de Ayuda de las Cortes de California, (www.sucorte.ca,gov) 0 poniéndose en contacto can la corte o ef
colegio de abogados locales, AVISO; Por ley, a corte liene derecho a reciamar las cuotas y fos costos exentos por imponer un gravamen sobre
cualquier recuperacién dé $10,000 6 mas de valor recibida mediante un acuerdo o una concesion de arbitraje en un caso de derecho civil. Tiene que
pagar ef gravamen de fa corte antes de que ia corte pueda desechar el caso,

 

 

 

 

 

The name and address of the court is: ; CASE NUMBER: 30-20 18-00983804-CU-OBCJC 7
(El nombre y direccién de la corte es): Orange County Superior Court (Narmere der Caso}: Judge Derek W. Hurt

700 Civic Center Drive West

Santa Ana, Ca 92701

The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
'E} nombre, la direccién y el numero de taléfono del abogado de! demandanta, o del demandante

Gould & Associates, 17822 E. 17th St., Suite 106, Tustin, Ca 92780; 714-669-2850; 714- 544. 0800

  
  

         

 

 

 

 

DATE: 94042019 pin H, YAMASAKI, Clerk of the Court Clerk, by fe ee Deputy
(Fecha) (Secretario} {Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-01 Yesica Campos ;
(Para prueba de entrega de asta citatién use el formulario Proot of Service of Summons, (POS-0710)).
- NOTICE TO THE PERSON SERVED: ‘You are served
ISEAL| 1. [) as an individual defendant,
2. [7] as the person sued under the fictitious name of (specify):
3, G21 onbenatt of epecity; EX el, Ene.
under: 4 CCP 416.10 (corporation) ([_] CCP 416.60 (minor)
[__] CCP 416.20 (defunct corporation) (7) «CCP 416.70 (conservatee)
(__] CCP 416.40 (assaciation or partnership} [__] CCP 416.90 (authorized person)
[1] other (specify):

 

 

 

4. [_] by personal delivery on (date):

 

Pago 1 of $
Form Adapted for Mandatory Usa Coda of Civil Procodure §§ 412.20, 465
Judicial Counat of Califomia SUMMONS ww, Courtinioca.gov

SUM-100 (Rev. July 1, 2008}

 

 
 

Case 8:1 8-cv-01 160-AG-JDE- Document1-1

Filed 06/29/18 Page 14 of 15 Page ID. #:23

 

| ATTORNEY OR PAR’ T' ¢ =bi¢
A WaT 70, i Pts if,
Aarin A. Zeit (SBN 241088) and Michael A” Gould (SBN 151851) POR COURT USE OnLY
Gould & Associates
17822 E, 17th St, Suite 106
ustin, a
TELEPHONE no: 714-669-2850 raxno: 714-544-0800 ELECTRONICALLY FILED

C Calk i
ATTORNEY FOR (Name): Plaintiff Superior Court of Califomia,

 

County of Orange
04/04/2018 at 11:32:08 Av

SUPERIOR COURT OF CALIFORNIA, COUNTY OF Orange
strcer aooress: 700 Civic Center Drive West

 

 

 

MAILING ADORESS; Clerk of the Superior Court
city anozipcove: Santa Ana, Ca 92701 By Yesica Campos Deputy Clerk
BRANCH NAME: .
CASE NAME:
Kerr v. Excel Inc
CIVIL CASE COVER SHEET Complex Case Designation CASE NUMBER:
Unlimited {—] Limited 3 Oo 30-2018-00989804-CU-O6- CJC
(Amount (Amount Counter Joinder mae
demanded demanded is Filed with first appearance by defendant | YC Judge Derek W. Hunt
exceeds $25,000) $25,000 or tess) (Cal. Rules of Court, rule 3.402) DEPT:

 

 

items 1-6 belaw must be completed (see instructions on page 2).

 

1, Check one box below for the case type that best describes this case:

Contract

Breach of contractéwarranty (06)
Rule 3.740 collections (09)
Other coltections (09)

Insurance coverage (18)

Other contract (37)

Real Property

Eminent domain/inverse
condemnation (14)

Wrongful eviction (33)

Auta Tort
Auto (22)
Uninsured motorist (46)

Other PUPOMWOD {Personal Injury/Property
Oamage/Wrongful Death) Tort

Asbestos (04)

Product flabillty (24)
Medical malpractice (45)
[J other PuPDWo (23)
Non-PUPOAWD (Other) Tort

Provisionally Complex Civil Litigation
(Cal. Rutes of Court, rules 3.400-3.403)
C] Antitrus/Trade regulation (03)
Construction defect (30)
Mass tort (40)
Securities litigation (28)
Environmental/Toxlc tort (30)

Insurance coverage claims arising from the
above listed provisionally complex case
types (41)

COU
DUO

Civil rights (08)
Defamation (13)

Fraud (16)

Intellectual property (19)

Business tort/unfair business practice (07)

Oiher real property (26)
Untawtul Detainer
Commercial (31)
Residential (32)
Drugs (38)
Judicial Review

Enforcement of Judgment

Enforcement of judgment (20)
Miscallaneous Civil Complaint

RICO (27)

Other complaint (not specified above) (42)

Professional negligence (25)
Other non-FUPO/WD tort (35)
Employmont

Wrongful termination (36)

Miscellaneous Civil Petition
Partnership and corporate governance (21)
| Other petition (not specified above) (43)

OUOU0O0

Asset forfeiture (05)
Petition re: arbitration award (11)
(_} wait of mandate (02)

SUS

 

 

‘a Other emptoyment (15) rT Other judicial review (39)

 

OAD w

Date: April 4, 2018
Aarin A. Zeif »

Thiscase L_Jis {YJ isnot complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the -
factors requiring exceptional judicial management:

a. Cj Large number of separately represented parties

b. | Extensive motion practice raising difficult ar novel
issues that will be time-consuming to resolve

c. _] Substantial amount of documentary evidence f

d, Cc] Large number of witnesses

e. CJ Coordination with related actions pending in one or more courts
in other counties, states, or countries, or in a federal court
Substantial posttudgment judicial supervision

Remedies sought (check aif that apply): a7] monetary _b.[__] nonmonetary; declaratory or injunctive relief. [v] punitive
Number of causes of action (specify): 6
This case Cc) is isnot aclass action suit.

\f there are any known waated cases, file and serve a notice of related cage. (You may use form

   

(TYPE OR PRINT NAME)

 

 

 

Farm Adoplod for Mandatory Use

NOTICE Vv

+ Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims’ ke rcases filed
under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal, Rules of Court, rule 3,220.¢Failufe to fite may result
in sanctions.

* File this cover sheet in addition to any cover sheet required by loca! court rule.
* If this case is complex under rule 3.400 et sea. of the California Rules of Court, you must serve @ copy of this cover sheet on all
other parties to the action or proceeding.

* Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.

ago 1 of
CIVIL CASE COVER SHEET

 

Cal. Rules of Court, ndes 2.20, 3.220, 3.400-3,403, 3.740;
Cal, Standards a Judicial Administration, std. 3.10
www, courinfa.ca.goy

Judicial Couneil ef Caliloria
OM-010 {Rav. duty 1, 2007)

 
Case.8-18-cv-01160-AG-IDE Document1.1 Filed 06/29/18. Page 15 of 15 Page ID #24

M-
INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET CM-010

To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
Statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
.check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.

To Parties in Rute 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an actlon for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit, A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.

To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be'indicated by
completing the appropriate boxes in items 1 and 2. if a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on alt parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiff's designation, a counter-designation that the case is nat complex, or, if the plaintiff has made no designation, a designation that

 

the case is complex.

Auto Tort
Auto (22)}-Personal Injury/Property
Damage/Wrongful Death
Uninsured Motorist (46) (if the
case involves an uninsured
motorist claim subject to
arbitration, check this item
instead of Auto)
Other PUPOAWD (Personal injury!
Property Damage/Wrongful Death)
Tort
Asbestos (04)
Asbestos Property Damage
Asbestos Personal Injury/
Wrongful Death
Product Liability (not asbestos or
toxic/environmenial) (24)
Medical Malpractice (45)
Medical Malpractice—
Physicians & Surgeons
Other Professional Health Care
Malpractice
Other PUPD/WO (23)
Premises Liability (e.g., slip
and fall)
Intentional Badily InjuryyiPO/WO
(e.g., assault, vandalism)
Intentlonal Infilction of
Emotional Distress
Negligent Inffiction of
Emotional Distress
Other PUPDAWD
Non-PHPOWO (Other) Tort
SBusiness Tort/Unfair Business
Practice (07) _
Civil Rights (e.g., discrimination,
false arrest) (not civil
harassment) (08)
Dafamation (2.g., slander, libel)
(13)
Fraud (16)
Inteltactuat Property (19)

CASE TYPES AND EXAMPLES
Contract
Breach of ContracUWarranty (06)
Breach of Rental/Lease
Contract (not uniawful delainer
or wrongtul eviction}
Contract‘Warranty Breach—Seller
Plaintiff (not fraud or negligence)
Negligent Breach of Contracy
Warranty
Other Breach of ContractWarranty
Collections (e.9., money owed, open
book accounts) (09)
Collection Case~Seller Plaintiff
Other Promissory Note/Collections

Case
insurance Coverage (not provisionally
comptex) (18}
Auto Subrogation
Other Coverage

Other Contract (37)
Contractual Fraud
Other Contract Dispute

Real Property
‘ Eminent Oomain/inverse
Condemnation (44)

Wrongful Evictian (33)

Other Real Property (e.g., quiet title) (26)
Writ of Possession of Real Property
Mortgage Foreclosure
Quiet Title
Other Real Property (not eminent
domain, landiordfenant, or
foreciasure)

Unlawful Detainer

Commercial (31)

Rasidential (32)

Drugs (38) (if the case involves illegat
drugs, check this item; otherwise,
report as Commercial or Residential)

Judiciat Review
Asset Forfeiture (05)
Petilion Re: Arbitration Award (1 t)

Provisionally Compiex Civil Litigation (Cal.
Rules of Court Rules 3.400-3.403)
Antitrus/Trade Regulation (03)
Construction Defect (10)
Claims Involving Mass Tort (40)
Securities Litigation (28)
Environmental/Toxic Tart (30)
Insurance Coverage Claims
(arising from provisionally complex
case lype listed above) (41)
Enforcement of Judgment
Enforcement of Judgment (20)
Abstract of Judgment (Out of
County) .
Confession of Judgment (non-
domestic relations)
Sister State Judgment
Administrative Agency Award
(not unpaid taxes)
Petition/Certification of Entry of
Judgment on Unpaid Taxes
Other Enforcement of Judgment

Misceflaneous Civil Comptaint
RICO (27)
Other Complaint (not specified
above) (42)
Declaratory Relief Only
Injunctive Relief Onty (non-
harassment)
Mechanics Lien
Other Commercial Complaint
Case {non-tartinon-compiex)
Other Civil Compiaint
(nan-tort/non-complex)
Miscellaneous Civil Petition
Partnership and Corparate
Governance (21)
Other Petition (nat specified
above) (43)
Civil Harassment
Workplace Violence
Elder(Mependent Adult

Professional Negligence (25) Writ of Mandate (02) Abuse

Legal Maipractice Writ-Administrative Mandamus Election Contest

Other Professional Malpractice \Wait-Mandamus on Ulmited Court Petition for Name Change

(not medical ar legal) Case Matter Petition for Rellef From Late
Other Non-PUPO/WD Tort (35) Wait-Other Limited Court Case Claim
Employment Review Other Civil Petition
Wrongful Termination (36) Other Judicial Review (39) :
Other Employment (15) "Review of Health Officer Order
Notice of Appeal-Labor
Commissioner Appeals

 

CM-010 {Rev, July 1, 2007]

CIVIL CASE COVER SHEET

Pago 2of2

 

 
